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                        9   Attorneys for Plaintiffs and Counter-Defendants
                            NEO4J, INC. and NEO4J SWEDEN AB
                   10

                   11                                         UNITED STATES DISTRICT COURT

                   12                                   NORTHERN DISTRICT OF CALIFORNIA

                   13       NEO4J, INC., a Delaware corporation,                  CASE NO. 5:18-cv-07182-EJD
                            NEO4J SWEDEN, AB,
                   14                                                             ADMITTED TRIAL EXHIBIT LIST AND
                                                Plaintiffs,                       JOINT CERTIFICATION OF ADMITTED
                   15                                                             TRIAL EXHIBITS
                                    v.
                   16
                            PURETHINK LLC, a Delaware limited                     (TX4 - TX170)
                   17       liability company, IGOV INC., a Virginia
                            corporation, and JOHN MARK SUHY, an
                   18       individual,
                   19                           Defendants.
                   20
                            AND RELATED COUNTERCLAIMS.
                   21

                   22

                   23

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H OPKINS & C ARLEY
  ATTORNEYS AT LAW
                            4856-3278-8638.1
 SAN JOSE   PALO ALTO       ADMITTED TRIAL EXHIBIT LIST AND JOINT CERTIFICATION
                            OF ADMITTED TRIAL EXHIBITS                                                 CASE NO. 5:18-CV-07182-EJD
                            Case 5:18-cv-07182-EJD           Document 241         Filed 01/26/24     Page 2 of 13



                        1             Plaintiffs and Counter-Defendants Neo4j, Inc. and Neo4j Sweden AB (collectively
                        2   “Plaintiffs”) and Defendants and Counterclaims PureThink LLC, iGov Inc. and John Mark Suhy
                        3   (collectively “Defendants”) (collectively, the “Parties”), through their respective counsel,
                        4   HEREBY CERTIFY, pursuant to Civil L.R. 5(g)(A), that following constitutes the list of exhibits
                        5   admitted by the Court either during the trial or via stipulation and order in this Action and the
                        6   attached exhibits are true and correct copies of those admitted exhibits.
                        7

                        8     Exhibit                          Description                           Date         Witness(es)
                                                                                                   Admitted
                        9
                                 4        2018-05-17 Rathle announcement published on              11/14/2023        Jason
                   10                     Neo4j USA's website regarding the release of                             Zagalsky*
                                          Neo4j® CE and Neo4j® EE version 3.4 and                                  John Mark
                   11                     introduction of Commons Clause                                             Suhy

                   12            6        2018-11-15 Announcement regarding the release of         11/14/2023        Jason
                                          Neo4j CE and Neo4j EE v3.5 published by Rathle                           Zagalsky*
                   13                     on Neo4j USA's website

                   14            8        2020-01-29 Press release issued by Neo4j USA             11/14/2023        Jason
                                          titled "Neo4j Marks Another Year of Product,                             Zagalsky*
                   15                     Customer and Community Momentum"

                   16            15       (Sealed Document) Excel Spreadsheet - 2022-11-           11/14/2023        Kelly
                                          14 Neo4j Monthly Closed Won Report as of 2022-                           Zawalski*
                   17                     11-14                                                                  Steven Boyles

                   18            16       (Sealed Document) 2017-10-01 Neo4j USA Price             11/14/2023        Jason
                                          List, Effective Oct 1, 2017 (Confidential - AEO)                         Zagalsky*
                   19
                                 17       (Sealed Document) 2019-04-01 Neo4j USA Price             11/14/2023        Jason
                   20                     List, Effective April 1, 2019 (Confidential - AEO)                       Zagalsky*

                   21            18       (Sealed Document) 2020-04-01 Neo4j USA Price             11/14/2023        Jason
                                          List, Effective April 1, 2020 (Confidential - AEO)                       Zagalsky*
                   22
                                 19       (Sealed Document) 2021-07-01 Neo4j USA Price             11/14/2023        Jason
                   23                     List, Effective July 1, 2021 (Confidential - AEO)                        Zagalsky*
                   24            34       2016-09-23 IRS Order for Supplies or Services, 11/28/2023                John Mark
                                          Order No. TIRNO-16-P-00202, to PureThink for                               Suhy*
                   25                     implementation of Neo4j Government Edition for
                                          $229,000
                   26
                                          07/12/17 Email exchange between John Mark Suhy           11/28/2023      Pursuant to
                   27            51       and Michael Dunn of the IRS regarding PureThink                          Stipulation
                                          continuing to fulfill its contractual obligations
                   28
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 SAN JOSE   PALO ALTO       ADMITTED TRIAL EXHIBIT LIST AND JOINT CERTIFICATION
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                        1
                              Exhibit                         Description                           Date         Witness(es)
                        2                                                                         Admitted

                        3                07/27/17 Email from Daniels Vivan to John Mark           11/28/2023      Pursuant to
                                52       Suhy enclosing RFQ and SOW to John Mark Suhy                             Stipulation
                        4                for CKGE support contract

                        5       57       2018-02-15 Letter from the Department of                 11/14/2023        Jason
                                         Treasurer to John Mark Suhy enclosing Neo4j,                             Zagalsky*
                        6                Inc.'s September 19, 2017 Agency-Level Protest of
                                         the IRS's sole-source award to iGov
                        7
                                58       2018-03-26 Suhy Email to Nussbaum                 re 11/28/2023          John Mark
                        8                graphstack.io – avoid trademark issues                                     Suhy*

                                59       2018 May 19-21 Rathle/Suhy Email String re 11/28/2023                    John Mark
                        9                Touching base, and attachment – purethink Mail –                           Suhy*
                   10                    IRS breakdown.pdf; April-2016-eail-number5-
                                         agreement.pdf
                   11           60       2018-05-21 Suhy Email to Nussbaum re Quick notes 11/28/2023              John Mark
                                         on fork                                                                    Suhy*
                   12
                                         05/22/18 Email exchange between John Mark Suhy           11/28/2023      Pursuant to
                   13                    and Donald Robertson of FSF regarding the                                Stipulation
                                61       removal of the Commons Clause from the Neo4j
                   14                    Sweden Software License
                   15                    06/20/18 Email exchange between John Mark Suhy           11/28/2023      Pursuant to
                                         and Donald Robertson FSF regarding the removal                           Stipulation
                   16           62       of the Commons Clause from the Neo4j Sweden
                                         Software License
                   17
                                         08/21/18 Continued email exchange between John  11/28/2023               Pursuant to
                   18                    Mark Suhy and Donald Robertson of FSF regarding                          Stipulation
                                65       the removal of the Commons Clause from the
                   19                    Neo4j Sweden Software License
                   20
                                66                                                                11/28/2023      John Mark
                                         2018-08-10 Suhy email to Rodrigue re Checkin In                            Suhy*
                   21
                                         08/22/18 Email from John Mark Suhy to Lee Smales 11/28/2023              Pursuant to
                   22                    at the Department of the Air Force where Suhy
                                69                                                                                Stipulation
                                         points him to ONgDB via the GFI website and
                   23
                                         confirms IRS is using ONgDB
                   24           83       07/10/20 Letter from John Mark Suhy to Traci 11/28/2023                  John Mark
                                         Brinkley enclosing Agency-Level Delivery Order                             Suhy*
                   25                    Protest Objection Solicitation 2032H5-20-F-00394
                   26           86       2017-11-01 archive of PureThink LLC's webpage,      11/14/2023             Jason
                                         http://purethink.com/ from Wayback Machine,                              Zagalsky*
                   27                    which states that iGov was formed by the "principle
                                         behind PureThink"
                   28
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 SAN JOSE   PALO ALTO       ADMITTED TRIAL EXHIBIT LIST AND JOINT CERTIFICATION
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                        1
                              Exhibit                         Description                           Date         Witness(es)
                        2                                                                         Admitted

                        3       87       2018-01-13 Printout of iGov's webpage,                   11/14/2023        Jason
                                         https://igovsol.com/about.html, which states that                        Zagalsky*
                        4                iGov was formed by the "principle behind
                                         PureThink"
                        5
                                88       2018-01-13 Copy of printout of iGov's webpage,           11/14/2023        Jason
                        6                https://igovsol.com/neo4j.html, showing use of                           Zagalsky*
                                         Neo4j Mark in "Government Development
                        7                Packages for Neo4j"

                        8       89       2018-12-04 archive of iGov's webpage,                    11/14/2023        Jason
                                         https://igovsol.com/neo4j.html, from Wayback                             Zagalsky*
                        9                Machine showing infringement of Neo4j Mark and                           John Mark
                                         encouraging download of ONgDB from GFI                                     Suhy
                   10
                                91       2019-10-01 capture of iGov's webpage,                    11/14/2023        Jason
                   11                    https://igovsol.com/index.html, encouraging users                        Zagalsky*
                                         to adopt ONgDB for free over Neo4j EE
                   12
                                103      2018-06-14 Email from Jason Zagalsky to Michael          11/14/2023        Jason
                   13                    Smolyak re commercial license needed for certain                         Zagalsky*
                                         enterprise-only features
                   14                    10/01/18 Email from Dian Griffith to Seth Cooper         11/28/2023      Pursuant to
                   15                    and Shahak Nagiel of Next Century, referencing                           Stipulation
                                104
                                         links to iGov's website regarding its packages for
                   16                    Neo4j and pricing
                                         10/17/18 Email from Diane Griffith to Shahak             11/28/2023      Pursuant to
                   17                    Nagiel discussing iGov's representations regarding                       Stipulation
                                105      the iGov/Graphstack free version of Neo4j
                   18
                                         Enterprise having the same enterprise-only features
                   19                    as commercially licensed Neo4j EE
                                         10/22/18 Email exchange between John Mark Suhy           11/28/2023      Pursuant to
                   20                    and Shahak Nagiel of Next Century Corp where                             Stipulation
                                106
                                         Suhy points him to ONgDB 3.4 via the GFI github
                   21                    repository and confirms IRS is using ONgDB
                                         10/26/18 Email from John Mark Suhy to Shahak             11/28/2023      Pursuant to
                   22
                                         Nagiel confirming that iGov-packaged Neo4j                               Stipulation
                                107
                   23                    enterprise distributions and ONgDB include the
                                         enterprise-only multi-data centers feature
                   24                    01/04/19 Email from John Mark Suhy to Shahak             11/28/2023      Pursuant to
                                108      Nagiel regarding working on and anticipated release                      Stipulation
                   25                    of ONgDB 3.5.1
                   26                    02/01/19 Email from Shahak Nagiel to Jim Weyant          11/28/2023      Pursuant to
                                109      re Neo4j PoC Status re going with open source                            Stipulation
                   27                    alternative (ONgDB) to Neo4j EE

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 SAN JOSE   PALO ALTO       ADMITTED TRIAL EXHIBIT LIST AND JOINT CERTIFICATION
                            OF ADMITTED TRIAL EXHIBITS                                                 CASE NO. 5:18-CV-07182-EJD
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                        1
                              Exhibit                         Description                           Date         Witness(es)
                        2                                                                         Admitted

                        3       110      2019-02-05 Email from Shahak Nagiel to Jason             11/14/2023        Jason
                                         Zagalsky Re: Neo4j licensing informing him that                          Zagalsky*
                        4                open-sourced builds from the Neo4j source code
                                         provided the needed clustering and security
                        5                requirements
                                         02/19/19 Email from Ben Nussbaum to John Mark 11/28/2023                 Pursuant to
                        6       111      Suhy re NextCentury questions re licensing of                            Stipulation
                        7                ONgDB
                                         02/19/19 Email from Ben Nussbaum to Shahak 11/28/2023                    Pursuant to
                        8       112      Nagel after intro from John Mark Suhy discussing                         Stipulation
                                         ONgDB v.3.5
                        9
                                113      Oct 22, 2018-Feb 19, 2019 Nagiel/Nussbaum/Suhy 11/28/2023                John Mark
                   10                    Email String re Neo4j licensing                                            Suhy*
                                         02/21/19 Email from Shahak Nagiel to multiple 11/28/2023                 Pursuant to
                   11           114      recipients at Next Century instructing to only use                       Stipulation
                   12                    ONgDB and delete all Neo4j EE binaries/containers
                                         03/05/19 Email from Shahak Nagiel to Marco de 11/28/2023                 Pursuant to
                   13                    Palma, Todd Hughes and Jim Weyant regarding                              Stipulation
                                115
                                         how to address use of ONgDB over Neo4j EE in
                   14                    public forums
                   15           116      2019-04-01 Email exchange between Jason                  11/14/2023        Jason
                                         Zagalsky and Shahak Nagiel confirming required                           Zagalsky*
                   16                    specifications for a Neo4j EE proposal and
                                         scheduling meeting with NextCentury and MPO re
                   17                    same

                   18           117      2019-04-01 Email exchange between Jason                  11/14/2023        Jason
                                         Zagalsky and Shahak Nagiel confirming Next                               Zagalsky*
                   19                    Century would continue to use ONgDB instead of
                                         Neo4j EE
                   20
                                118      (Sealed Document) 04/29/19 Email from Shahak             11/14/2023        Jason
                   21                    Nagiel to Jason Zagalsky confirming that                                 Zagalsky*
                                         NextCentury shared Neo4j USA's proposal with                           Steven Boyles
                   22                    MPO and confirming that NextCentury continued
                                         to use ONgDB, and attachment: Prepared Proposal
                   23                    for Maryland Procurement Office KMS Project
                                         (OCEO)
                   24
                                119      2019-04-29 Email from Shahak Nagiel to Jason             11/14/2023        Jason
                   25                    Zagalsky confirming that NextCentury shared                              Zagalsky*
                                         Neo4j USA's proposal with MPO and confirming
                   26                    that NextCentury continued to use ONgDB

                   27

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 SAN JOSE   PALO ALTO       ADMITTED TRIAL EXHIBIT LIST AND JOINT CERTIFICATION
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                        1
                              Exhibit                         Description                           Date         Witness(es)
                        2                                                                         Admitted
                                         07/21/19 Email from Shahak Nagiel to Jason               11/28/2023      Pursuant to
                        3                Zagalsky (copying Jim Weyant) confirming that the
                                120                                                                               Stipulation
                        4                MPO was not interested in paying for a commercial
                                         license for Neo4j EE
                        5                01/23/20 Email exchange between Brad Nussbaum            11/28/2023      Pursuant to
                                121      and Michael Smolyak confirming that MPO still                            Stipulation
                        6                using ONgDB and interested in version 4.0
                                         10/27/20 Email from Michael Smolyak to Tammy             11/28/2023      Pursuant to
                        7       122      Turpin regarding moving ONgDB into production at                         Stipulation
                        8                MPO
                                         03/29/17 Email from Michael Dunn to John Mark            11/28/2023      Pursuant to
                        9                Suhy regarding meeting with Jason Zagalsky and                           Stipulation
                                123
                                         John Broad of Neo4j USA and need for 12-core
                   10                    enterprise license in production
                                         10/04/17 Email exchange between Michael Dunn             11/28/2023      Pursuant to
                   11
                                         and John Mark Suhy regarding iGov and                                    Stipulation
                                124
                   12                    eGovernment Solutions supporting the CKGE
                                         platform
                   13           125      2018-05-22 Suhy Email to Dunn re Neo4j latest            11/28/2023      John Mark
                                         happenings,      and     attachment  –    fsf-agpl-                        Suhy*
                   14                    confirmation.pdf
                   15           126      05/22/18 Email from Jason Zagalsky to Michael            11/14/2023        Jason
                                         Dunn regarding sole-source order with eGov Sol                           Zagalsky*
                   16                    for consulting and support of CKGE

                   17                    05/22/18 Email from John Mark Suhy to Michael 11/28/2023                 Pursuant to
                                127      Dunn regarding Neo4j Sweden adding Commons                               Stipulation
                   18                    Clause to AGPL in Neo4j EE 3.4

                   19           128      2018-05-31 Email exchange between Lisa                   11/14/2023        Jason
                                         Rosenmerkel and Jason Zagalsky regarding                                 Zagalsky*
                   20                    scheduling a meeting regarding the IRS's needs
                                         relating to Neo4j software
                   21                    06/15/18 Email exchange between Michael Dunn 11/28/2023                  Pursuant to
                                         and John Mark Suhy regarding the IRS switching                           Stipulation
                   22           129
                                         from Neo4j EE 3.2 to Neo4j CE 3.4 in light of
                   23                    change to licensing in Neo4j EE 3.4
                                130      2018-06-29 Suhy Email to Dunn re Final Project 11/28/2023                John Mark
                   24                    Name: Open Native Graph DB                                                 Suhy*
                   25           131      2018-07-27 Email exchange between Lisa                   11/14/2023        Jason
                                         Rosenmerkel and Jason Zegalsky regarding                                 Zagalsky*
                   26                    proposal for Neo4j EE subscription bundle for
                                         CKGE environment
                   27

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 SAN JOSE   PALO ALTO       ADMITTED TRIAL EXHIBIT LIST AND JOINT CERTIFICATION
                            OF ADMITTED TRIAL EXHIBITS                                                 CASE NO. 5:18-CV-07182-EJD
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                        1
                              Exhibit                         Description                           Date         Witness(es)
                        2                                                                         Admitted

                        3       132      2018/08/13 Suhy/Dunn Email String re transition 11/28/2023               John Mark
                                         risk question from our ckge neo4j 3.3.2 to ONgdb                           Suhy*
                        4                08/14/18 Email from Michael Dunn to John Mark            11/28/2023      Pursuant to
                                133      Suhy instructing him to integrate ONgDB into the                         Stipulation
                        5
                                         CKGE framework
                        6                08/14/18 Email from Michael C. Dunn to John Mark         11/28/2023      Pursuant to
                                         Suhy confirming he will proceed with ONgDB and                           Stipulation
                                134
                        7                also inviting Raul Tikekar to discuss using ONgDB
                                         in YK1 platform
                        8                12/11/18 Email exchange between John Mark Suhy           11/28/2023      Pursuant to
                                137      and Patrick Martin discussing hardware                                   Stipulation
                        9
                                         requirements for CKGE and YK1
                   10                    03/11/19 Email exchange between Martin Patrick           11/28/2023      Pursuant to
                                138      and John Mark Suhy regarding ONgDB sever                                 Stipulation
                   11                    instances in CKGE
                                         04/24/19 Email exchange between Martin Patrick           11/28/2023      Pursuant to
                   12           139      and John Mark Suhy with Suhy providing download                          Stipulation
                   13                    link for ONgDB Enterprise 3.5.3 on IRS repository
                                         09/10/19 Cancellation of Meeting from Michael            11/28/2023      Pursuant to
                   14                    Dunn to Patrick Martin, Michael Young, John Mark                         Stipulation
                                141
                                         Suhy, Joshua Porter, Jonathan Edelson and Joseph
                   15                    Ansaldi re disc of BETA, STAGE, PROD domains
                   16                    09/17/19 Email exchange between Joshua Porter at         11/28/2023      Pursuant to
                                         the IRS and John Mark Suhy regarding updating                            Stipulation
                                143
                   17                    ONgDB at the IRS from version 3.5.3 to version
                                         3.5.9
                   18                    09/20/19 Email from Michael Dunn to a number of          11/28/2023      Pursuant to
                                         individuals with the IRS, including John Mark Suhy,                      Stipulation
                   19           144      Michael Stavrianos and Brian Bird regarding new
                   20                    ONgDB libraries available on internal IRS
                                         repository
                   21                    11/12/19 Email exchange between Hai Huynh and            11/28/2023      Pursuant to
                                         John Mark Suhy regarding downloading ONgDB                               Stipulation
                   22           145
                                         3.5.11 from internal IRS repository and running on
                                         IRS laptop
                   23
                                         09/28/20 Order for Supplies or Services Contract         11/28/2023      Pursuant to
                   24           146      No. 2032H5-19-A-00011 to ASR Analytics for                               Stipulation
                                         Corporate Graph Database
                   25           147      11/17/20 Suhy Email to donald@fsf.org,                   11/28/2023      John Mark
                                         craigt@fsf.org, and licensing@fsf.org re Nov 13th                          Suhy*
                   26                    2020 Court opinion on AGPL - may need FSF
                   27                    involvement

                   28
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 SAN JOSE   PALO ALTO       ADMITTED TRIAL EXHIBIT LIST AND JOINT CERTIFICATION
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                        1
                              Exhibit                         Description                           Date         Witness(es)
                        2                                                                         Admitted

                        3       150      2021-02-16 Stipulated Judgment and Permanent 11/28/2023                  John Mark
                                         Injunction Order, ECF No. 110                                              Suhy*
                        4                10/01/18 Subcontract Agreement between ASR               11/28/2023      Pursuant to
                                         Analytics, LLC and iGov, Inc. for prime contract                         Stipulation
                        5
                                         #2032H8-18-C-00037                               to
                        6       154      Tylor Data Services, LLC for consulting services
                                         including technical guidance and deployment
                        7                support                                     related
                                         to the CKGE
                        8                11/07/18 Master Subcontract Agreement between            11/28/2023      Pursuant to
                                         ASR Analytics and iGov, Inc. for Contract No.                            Stipulation
                        9       155
                                         GS10F0062R / 2032-H5-19-A-00011 for RAAS
                   10                    Data Analytics and Innovation Support (DAIS)
                                         03/29/19 Email from John mark Suhy to Michael            11/28/2023      Pursuant to
                   11           158      Stavrianos enclosing resume for Cyber RFQ (KG-                           Stipulation
                                         API engagement)
                   12                    6/6/2019 Invoice #212 sent by iGov to ASR for work       11/28/2023      Pursuant to
                   13           160      on Tylor Data Services, LLC:IRS RAAS Graph                               Stipulation
                                         Analytics in the amount of $1,750
                   14                    12/06/19 Email from Deborah Tylor to John Mark           11/28/2023      Pursuant to
                                161      Suhy, Alexander Seo Sook, Michael Stavrianos and                         Stipulation
                   15                    Lauren Szczerbisnski re KGAPI milestones
                                         07/27/20 Volume 1 - Technical Proposal (RFQ-20-          11/28/2023      Pursuant to
                   16
                                         U0016) - ASR Analytics for RAAS Data Analytics                           Stipulation
                                162
                   17                    and Innovation Support (DAIS) made under Blanket
                                         Purchase Agreement for KG-API
                   18                    06/04/20 Modification 001 to Master Subcontract          11/28/2023      Pursuant to
                                163      Agreement for iGov's work at IRS on RAAS Data                            Stipulation
                   19                    Analytics and Innovation Support (DAIS)
                   20                    10/05/20 Subcontractor Task Order Number 0001            11/28/2023      Pursuant to
                                164      under ASR-RAAS_DAIS-iGov-0001 for Emerging                               Stipulation
                   21                    Compliance Issues totaling $29,538.00
                                         10/07/20 Subcontractor Task Order Number 0002            11/28/2023      Pursuant to
                   22                    under ASR-RAAS_DAIS-iGov-0001 for Support                                Stipulation
                                165
                                         for Support for Corporate Graph Database totaling
                   23
                                         $25,993.44
                   24                    11/09/21 Subcontractor Task Order Number 0001 -          11/28/2023      Pursuant to
                                         Modification 01 under ASR-RAAS_DAIS-iGov-                                Stipulation
                                166
                   25                    0001 for Emerging Compliance Issues totaling
                                         $35,470.90
                   26                    11/09/21 Subcontractor Task Order Number 0002 -          11/28/2023      Pursuant to
                   27                    Modification 01 under ASR-RAAS_DAIS-iGov-                                Stipulation
                                167
                                         0001 for Support for Support for Corporate Graph
                   28                    Database totaling $21,131.60
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                            4856-3278-8638.1                                   -7-
 SAN JOSE   PALO ALTO       ADMITTED TRIAL EXHIBIT LIST AND JOINT CERTIFICATION
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                        1
                              Exhibit                         Description                           Date         Witness(es)
                        2                                                                         Admitted
                                         3/5/2021 Invoice #267 sent by iGov to ASR for work       11/28/2023      Pursuant to
                        3                on TIRS:DAIS BPA (lOT Innovation, Knowledge
                                168                                                                               Stipulation
                        4                Graph, Corporate Graph, Emerging Compliance
                                         Issues) in the amount of $14,474.12
                        5                7/7/2022 Invoice #303 sent by iGov to ASR for work       11/28/2023      Pursuant to
                                169      on IRS:DAIS BPA (IDT, KG, CG, ECI) in the                                Stipulation
                        6                amount of $6,490.42
                                         07/07/22 Master Subcontract Agreement between            11/28/2023      Pursuant to
                        7                ASR Analytics and Greystones Consulting Group,                           Stipulation
                        8       170      LLC for Contract No. GS10F0062R / 2032-H5-19-
                                         A-00011 for RAAS Data Analytics and Innovation
                        9                Support (DAIS)
                                         10/04/22 Subcontractor Task Order Number                 11/28/2023      Pursuant to
                   10                    0001_MOD         01   under     ASR-RAAS_DAIS-
                                171                                                                               Stipulation
                                         Greystones-0001 for Emerging Compliance Issues,
                   11
                                         replacing Subcontract Agreement with iGov Inc.
                   12                    11/01/22 Subcontractor Task Order Number                 11/28/2023      Pursuant to
                                         0002_MOD 01 under ASR_RAAS_DAIS-                                         Stipulation
                   13           172      Greystones-0001 for Support for Corporate Graph
                                         Database, replacing Subcontract Agreement with
                   14                    iGov Inc.
                   15                    11/02/22 ASR Analytics LLC Transaction List by           11/28/2023      Pursuant to
                                         Vendor 1/1/2015 - 07/27/2022 for payments made to                        Stipulation
                   16           173      iGov totaling 246,082.55, which the parties
                                         stipulated accurately reflected amounts ASR paid
                   17                    iGov through 07/27/2022
                                         12/31/18 Stock Purchase Agreement between John           11/28/2023      Pursuant to
                   18
                                         Mark Suhy and Ashwani Mayur and Nikhil                                   Stipulation
                   19           180      Budhiraja where Suhy sells his shares in eGov Sol to
                                         other shareholders for $20,000 and the proceeds
                   20                    from the CKGE Contract with the IRS

                   21                    04/06/18 eGovernment Solutions Inc.'s quote for 11/28/2023               Pursuant to
                                181
                                         CKGE Contract prepared by John Mark Suhy                                 Stipulation
                   22
                                182      2018-05-24 Order for Supplies or Services Order 11/28/2023               John Mark
                   23                                                                                             Suhy* and
                                         No. 2032H8-18-P-00151, 1st year of CKGE                                  Pursuant to
                                         Contract for $300,000                                                    Stipulation
                   24
                                         05/31/18 Amendment of Solicitation/Modification 11/28/2023               Pursuant to
                   25           183      of Contract to correct Order No. 2032H8-18-P-                            Stipulation
                   26                    00151 to 2032H8-18-P-00168 for CKGE Contract

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 SAN JOSE   PALO ALTO       ADMITTED TRIAL EXHIBIT LIST AND JOINT CERTIFICATION
                            OF ADMITTED TRIAL EXHIBITS                                                 CASE NO. 5:18-CV-07182-EJD
                            Case 5:18-cv-07182-EJD          Document 241        Filed 01/26/24    Page 10 of 13



                        1
                              Exhibit                         Description                          Date         Witness(es)
                        2                                                                        Admitted
                                         05/24/19 Amendment of Solicitation/Modification         11/28/2023      Pursuant to
                        3                of Contract to exercise option year 1 in the amount
                                184                                                                              Stipulation
                        4                of $200,000.00 with a period of performance is
                                         5/24/2019 - 5/23/2020 for CKGE Contract
                        5                09/26/19 Amendment of Solicitation/Modification         11/28/2023      Pursuant to
                                185      of Contract to modify funding for option year 1 by                      Stipulation
                        6                $216,000 for CKGE Contract
                                         05/24/20 Amendment of Solicitation/Modification         11/28/2023      Pursuant to
                        7                of Contract to exercise option year 2 in the amount
                                186                                                                              Stipulation
                        8                of $200,000 for a period of performance of
                                         5/24/2020 to 5/23/2021 for CKGE Contract
                        9                05/24/21 Amendment of Solicitation/Modification         11/28/2023      Pursuant to
                                         of Contract to exercise option year 3 in the amount                     Stipulation
                   10           187
                                         of $200,000 for a period of performance of
                                         5/24/2021 to 5/23/2022 for CKGE Contract
                   11
                                         05/24/22 Amendment of Solicitation/Modification         11/28/2023      Pursuant to
                   12                    of Contract to exercise option year 4 in the amount                     Stipulation
                                188
                                         of $200,000 for a period of performance of
                   13                    5/24/2022 to 5/23/2023 for CKGE Contract
                                         2018-2022 Ex 110 - Combined Invoicing Docs              11/28/2023      Pursuant to
                   14           189      (Nos. 817, 827, 901, 955, 960, 912) for CKGE                            Stipulation
                   15                    Contract totaling $1,316,000
                                         2018 E-Gov Solutions 1099 to iGov (2018) for 11/28/2023                 Pursuant to
                   16           190
                                         $285,700.00                                                             Stipulation
                   17                    2019 E-Gov Solutions 1099 to iGov (2019) for 11/28/2023                 Pursuant to
                                191
                                         $199,850.00                                                             Stipulation
                   18
                                         2020 E-Gov Solutions 1099 to iGov (2020) for 11/28/2023                 Pursuant to
                   19           192
                                         $193,000.00                                                             Stipulation
                   20                    2021 E-Gov Solutions 1099 to iGov (2021) for 11/28/2023                 Pursuant to
                                193
                                         $197,000.00                                                             Stipulation
                   21
                                         2018-2022 Combined Wells Fargo Bank Statements 11/28/2023               Pursuant to
                   22           194      for eGovernment Solutions account where IRS                             Stipulation
                                         deposits and payments to iGov were made
                   23                    10/25/22 LinkedIn profile for Richard Starr - 11/28/2023                Pursuant to
                   24           195      Attorney - Irving Starr Esq., P.C., counsel of record                   Stipulation
                                         for Defendants
                   25                    Wells Fargo Statements for eGovernment Solutions 11/28/2023             Pursuant to
                                197
                                         Account No. 5581518783                                                  Stipulation
                   26
                                         Various checks from Wells Fargo Account No. 11/28/2023                  Pursuant to
                   27           198
                                         5581518783 signed by John Mark Suhy                                     Stipulation
                   28
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                            4856-3278-8638.1                                   -9-
 SAN JOSE   PALO ALTO       ADMITTED TRIAL EXHIBIT LIST AND JOINT CERTIFICATION
                            OF ADMITTED TRIAL EXHIBITS                                                CASE NO. 5:18-CV-07182-EJD
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                        1
                              Exhibit                          Description                           Date         Witness(es)
                        2                                                                          Admitted

                        3                 Various checks from Wells Fargo Account No. 11/28/2023                   Pursuant to
                                199
                                          5581518783 signed by John Mark Suhy                                      Stipulation
                        4
                                          2014 PureThink LLC Profit & Loss Statement, 11/28/2023                   Pursuant to
                                200
                        5                 January through December 2014                                            Stipulation

                        6                 2015 PureThink LLC's Profit and Loss Statement for 11/28/2023            Pursuant to
                                201
                                          2015                                                                     Stipulation
                        7
                                          2016 Purethink LLC's Profit and Loss Statement for 11/28/2023            Pursuant to
                                202
                        8                 2016                                                                     Stipulation

                        9                                                                          11/28/2023      Pursuant to
                                203       2018 iGov Inc. Profit and Loss Statement for 2018                        Stipulation
                   10
                                                                                                   11/28/2023      Pursuant to
                                204       2019 iGov Inc Profit and Loss Statement for 2019
                   11                                                                                              Stipulation

                   12                                                                              11/28/2023      Pursuant to
                                205       2020 iGov Inc Profit and Loss Statement for 2020                         Stipulation
                   13
                                                                                                   11/28/2023      Pursuant to
                                206       2021 iGov Inc Profit and Loss Statement for 2021
                   14                                                                                              Stipulation

                   15           209       (Sealed Document) 2022-12-22 Expert Report of 11/28/2023 Steven Boyles*
                                          Steven B. Boyles
                   16           210                                                                11/28/2023      John Mark
                                          2017-05-24 Suhy Email to Brown re Opinion                                  Suhy*
                   17
                                211       2020-06-24 iGov Protest Letter to US GAO re 11/28/2023                   John Mark
                   18                     Delivery Order Protest of iGov, Inc. Under                                 Suhy*
                                          Solicitation No. 05GA0A20F0012
                   19                     2021-05-09 iGov Letter to National Institutes of 11/28/2023
                                212                                                                                John Mark
                   20                     Health re Sole source intention protest: iGov Inc.                         Suhy*
                                          Under Notice #: NOI-RML-2072678, National
                   21                     Institutes of Health, Department of Health and
                                          Human Services
                   22
                                213       (Sealed Document) 2015-10-01 Neo Tech Price List 11/28/2023              John Mark
                   23                     (USD)                                                                      Suhy*

                   24          1002       Dec-19 AGPL LICENSE.txt files for the ONgDB 11/28/2023                   John Mark
                                          v3.4 source code branch                                                    Suhy*
                   25
                               1010       2019-03-01 Commit from the GitHub.com web 11/28/2023                     John Mark
                   26                     browser, by Mr. Suhy                                                       Suhy*

                   27          1011                                                                11/28/2023      John Mark
                                          Statement of Work for the CKGE contract with IRS                           Suhy*
                   28
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  ATTORNEYS AT LAW
                            4856-3278-8638.1                                  - 10 -
 SAN JOSE   PALO ALTO       ADMITTED TRIAL EXHIBIT LIST AND JOINT CERTIFICATION
                            OF ADMITTED TRIAL EXHIBITS                                                  CASE NO. 5:18-CV-07182-EJD
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                        1
                              Exhibit                          Description                            Date          Witness(es)
                        2                                                                           Admitted

                        3      1012       2019 Feb 19-22 Nagiel/Nussbaum Email String re 11/28/2023                  John Mark
                                          Neo4j Licensing                                                              Suhy*
                        4
                               1027       2019-05-22 Emails between Zagalsky and Dunn on           11/14/2023          Jason
                        5                 Commons Clause                                                             Zagalsky*

                        6      1043       2016 August 12-15 Nordwall/Suhy Email String re 11/28/2023                 John Mark
                                          Checking In - Updates                                                        Suhy*
                        7
                               1044       2016-04-28 Broad/Suhy Email String re For IRS - 11/28/2023                 John Mark
                        8                 Idea                                                                         Suhy*

                        9      1064       2017-08-08 Email from Michael Dunn to Jason              11/14/2023          Jason
                                          Zagalsky re: License                                                       Zagalsky*
                   10
                               1097       Webpage:      https://igovsol.com/downloads.html, 11/28/2023               John Mark
                   11                     dated 10/2/2019                                                              Suhy*

                               1098       Webpage:                                          11/28/2023               John Mark
                   12
                                          https//web.archive.org/web/20171102094315/http://                            Suhy*
                   13                     purethink.com:80/, dated 11/8/2018
                               1101       Oct 22, 2018-Feb 19, 2019 Nagiel/Nussbaum/Suhy 11/28/2023                  John Mark
                   14                     Email String re Neo4j licensing                                              Suhy*
                   15

                   16       Dated: January 26, 2024                              HOPKINS & CARLEY
                                                                                 A Law Corporation
                   17
                                                                                 By: /s/ Jeffrey M. Ratinoff
                   18                                                               John V. Picone III
                                                                                    Jeffrey M. Ratinoff
                   19                                                               Attorneys for Plaintiffs and
                                                                                    Counter-Defendants
                   20                                                               NEO4J, INC. and NEO4J SWEDEN AB
                   21
                            Dated: January 26, 2024
                   22                                                                   /s/ Adron W. Beene
                   23                                                                  Adron W. Beene
                                                                                       Adron G. Beene
                   24                                                                  Attorneys for Defendants and Counter-
                                                                                       Claimants
                   25                                                                  PURETHINK LLC, IGOV INC., and
                                                                                       JOHN MARK SUHY
                   26

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H OPKINS & C ARLEY
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                            4856-3278-8638.1                                  - 11 -
 SAN JOSE   PALO ALTO       ADMITTED TRIAL EXHIBIT LIST AND JOINT CERTIFICATION
                            OF ADMITTED TRIAL EXHIBITS                                                    CASE NO. 5:18-CV-07182-EJD
                            Case 5:18-cv-07182-EJD          Document 241          Filed 01/26/24   Page 13 of 13



                        1                             ATTESTATION OF E-FILED SIGNATURE
                        2           Pursuant to Local Rule 5-1(i)(3), I hereby certify that I have obtained the concurrence in
                        3   the filing of this document from all signatories for whom a signature is indicated by a
                        4   “conformed” signature (/s/) within this electronically filed document and I have on file records to
                        5   support this concurrence for subsequent production to the Court if so ordered or for inspection
                        6   upon request.
                        7   Dated: January 26, 2024                              HOPKINS & CARLEY
                                                                                 A Law Corporation
                        8

                        9                                                        By: /s/ Jeffrey M. Ratinoff
                                                                                    John V. Picone III
                   10                                                               Jeffrey M. Ratinoff
                                                                                    Attorneys for Plaintiffs and
                   11                                                               Counter-Defendants
                                                                                    NEO4J, INC. and NEO4J SWEDEN AB
                   12

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                            4856-3278-8638.1                                  - 12 -
 SAN JOSE   PALO ALTO       ADMITTED TRIAL EXHIBIT LIST AND JOINT CERTIFICATION
                            OF ADMITTED TRIAL EXHIBITS                                                 CASE NO. 5:18-CV-07182-EJD
